Case 10-37875-KRH           Doc 37 Filed 09/12/13 Entered 09/13/13 00:35:45             Desc Imaged
                                 Certificate of Notice Page 1 of 2




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        Case 10-37875-KRH              Doc 37 Filed 09/12/13 Entered 09/13/13 00:35:45                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 10-37875-KRH
John Edward Small                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: ramirez-l                    Page 1 of 1                          Date Rcvd: Sep 10, 2013
                                      Form ID: pdford3                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 12, 2013.
db            +John Edward Small, Jr.,  2408 Bainbridge Street,   Richmond, VA 23225-3936

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 12, 2013                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 10, 2013 at the address(es) listed below:
              Abigail S. Phillips    on behalf of Debtor John Edward Small, Jr. aphillips@pf-law.com,
               beth@pf-law.com;dweekley@pf-law.com
              Carl M. Bates    station01@richchap13.com,
               station10@richchap13.com;station03@richchap13.com;station07@richchap13.com;station06@richchap13.c
               om
              Cheran Denise Cordell    on behalf of Creditor   PHH MORTGAGE CORPORATION vabecf@logs.com,
               vabecf@logs.com
              Keith L. Phillips    on behalf of Plaintiff John Edward Small, Jr. Keith@pf-law.com,
               beth@pf-law.com;aphillips@pf-law.com;dweekley@pf-law.com
              Linh Kiet Tran    on behalf of Transferee   CR Evergreen II, LLC bknotices@gmail.com
                                                                                             TOTAL: 5
